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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

ANA CERVANTES, individually and on               )
behalf of all others similarly situated,         )
                                                 )
            Plaintiff,                           )
                                                 )
v.                                               ) CIVIL ACTION
                                                 ) FILE NO. 1:17-cv-02410-ELR
UNITED PARCEL SERVICE OF                         )
AMERICA, INC.,                                   )
                                                 )
            Defendant.                           )

                         JOINT MOTION TO STAY DEADLINES

            Plaintiff Ana Cervantes and Defendant United Parcel Service of America,

Inc. jointly report that they have reached a confidential agreement in principle to

settle this case on an individual basis. Accordingly, the parties jointly move the

Court to enter an order staying all case deadlines—including, without limitation,

further briefing on Defendant’s motion to dismiss, the Rule 26(f) conference, the

joint preliminary report and discovery plan, initial disclosures, the deadline for

moving for class certification, and the beginning of discovery—for three weeks so

that the parties may finalize a settlement agreement and file a stipulation of

dismissal with prejudice. The parties have not sought or received a previous stay

of deadlines in this case. A Proposed Order is attached hereto as Exhibit A.

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            Submitted this 22nd day of September, 2017.

s/ (by Frank M. Lowrey IV with express          s/ Frank M. Lowrey IV
permission)                                     Frank M. Lowrey IV
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Counsel for Plaintiff                           Counsel for Defendant
Ana Cervantes                                   United Parcel Service of America, Inc.




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                         CERTIFICATE OF COMPLIANCE

            I certify that the foregoing JOINT MOTION TO STAY DEADLINES has

been prepared using Times New Roman 14 point font, which is one of the font and

point selections approved by the Court in Local Rule 5.1B.

                                              /s/ Frank M. Lowrey IV
                                              Frank M. Lowrey IV




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                               CERTIFICATE OF SERVICE

            I hereby certify that on this 22nd day of September, 2017, I electronically

filed the foregoing JOINT MOTION TO STAY DEADLINES with the Clerk of

the United States District Court, Northern District of Georgia, using the CM/ECF

system, which shall send notification of such filing to counsel of record as follows:

                  Matthew T. Berry
                  Adam J. Klein
                  BERRY & ASSOCIATES
                  2751 Buford Highway, Suite 600 Atlanta, GA 30324
                  matt@mattberry.com
                  aklein@mattberry.com


                                                   /s/ Frank M. Lowrey IV
                                                   Frank M. Lowrey IV




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